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DEC 1 4 1999

IN THE UNITED STATES DISTRICT COURT FOR THE Pt con,
w.S, DISTRICT C Clerk
NORTHERN DISTRICT OF OKLAHOMA COURT

Eddy L. Patterson

and

Judy R. Patterson

Plaintiffs,

Vv. Civil No 99-CV-0814H(J)

JAY BRYCE, REVENUE OFFICER

and DISTRICT DIRECTOR

INTERNAL REVENUE SERVICE

Defendants,

PLAINTIFFS’ REQUEST FOR WITHDRAWAL

The plaintiffs’ respectfully request that their Complaint
numbered 99-CV-0814H(J) be withdrawn without prejudice.

Patterson andy ® Patterson
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Tulsa, OK 74008 Tulsa, OK 74008
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CERTIFICATE OF SERVICE

IT IS HEREBY CERTIFIED that service of the foregoing
PLAINTIFFS’ request for withdrawal of their Complaint and
proposed order have been made on the following by depositing

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in the United States Mail, pestage prepaid, this
day of December, 1999.

Stephen Cc. Lewis, Esquire
United States Attorney
Northern District of Oklahoma
3460 U.S. Courthouse

333 West Fourth Street

Tulsa, OK 74103-23809

JEFFREY S. SWYERS

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Oklahoma City, OK 73102-9233

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